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 4 Attorney for Defendant
   RUTH KELLNER
 5

 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-00064-JAM

10                                Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE AND TO EXCLUDE TIME
11                          v.                          PERIODS UNDER SPEEDY TRIAL ACT;
                                                        FINDINGS AND ORDER
12   RUTH KELLNER,
                                                        DATE: October 22, 2019
13                                Defendant.            TIME: 9:30 a.m.
                                                        COURT: Hon. John A. Mendez
14

15

16                                               STIPULATION

17         1.      By previous order, this matter was set for a status conference on October 22, 2019.

18         2.      By this stipulation, the parties, through undersigned counsel, now move to continue the

19 case to November 5, 2019 at 9:15 a.m. for change of plea, and to exclude time between October 22,

20 2019 and November 5, 2019 under Local Code T4.

21         3.      The parties agree and stipulate, and request that the Court find the following:

22                 a)      Discovery in this case is extensive. It includes, among other things, hundreds of

23         pages of investigative reports, multiple wiretap applications, audio recordings of thousands of

24         intercepted calls, transcripts, photographs, pole camera video, and many items of seized real

25         evidence, including alleged narcotics. All of this discovery has been either produced directly to

26         counsel and/or made available for inspection and copying. Counsel for defendant desires

27         additional time to consult with his client, to review the current charges, to conduct investigation

28         and research related to the charges, to review and copy discovery for this matter, and to discuss

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      1
      FINDINGS AND ORDER
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 1          potential resolution with his client. The government has recently provided a proposed plea

 2          agreement to defendant Ruth Kellner.

 3                 b)      Counsel for defendant believes that failure to grant the above-requested

 4          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5          into account the exercise of due diligence.

 6                 c)      The government does not object to the continuance.

 7                 d)      Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                 e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of October 22, 2019 to November 5,

12          2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

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21          IT IS SO STIPULATED.

22
      Dated: October 16, 2019                                 /s/ Jason Hitt
23                                                            JASON HITT
                                                              Assistant United States Attorney
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25
      Dated: October 16, 2019                                 /s/ Chris Cosca
26                                                            CHRIS COSCA
27                                                            Counsel for Defendant
                                                              Ruth Kellner
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      FINDINGS AND ORDER
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 1

 2                                                  ORDER

 3        IT IS SO FOUND AND ORDERED this 17TH day of October, 2019.

 4
                                                       /s/ John A. Mendez
 5                                                  THE HONORABLE JOHN A. MENDEZ
                                                    UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]     3
     FINDINGS AND ORDER
